       CASE 0:22-cv-00098-JMB-JFD Doc. 81-22 Filed 02/01/23 Page 1 of 3
                                                                                         Julie M. Loftus
                                                                     71 South Wacker Drive, Suite 1600
                                                                          Chicago, Illinois 60606-4637
                                                                             Direct Dial: 312.624.6341
                                                                                    Fax: 312.767.9192
                                                                              jloftus@beneschlaw.com




                                                 December 30, 2022



Matthew Eslick
888 Colwell Building
123 North Third Street, Suite 888
Minneapolis, MN 55401
Email: eslick@parkerdk.com

       Re:     Smartmatic USA Corp., et al. v. Lindell, et al.; Case No. 22-cv-00098

Dear Mr. Eslick:

       I write regarding Defendants’ Responses to Plaintiffs’ First Set of Requests for Production
of Documents and Defendant My Pillow, Inc.’s (“MyPillow”) Responses to Plaintiffs’ Second Set
of Requests for Production of Documents (collectively, the “RFP Responses”). Smartmatic served
its RFPs on October 17, 2022, and after Smartmatic agreed—twice—to extend Defendants’
deadline to respond, Defendants served their RFP Responses on December 5, 2022.

        As Smartmatic noted in its letters to Defendants dated December 14, 2022 and December
22, 2022, in many of Defendants’ RFP Responses, they listed a series of objections and then stated:
“Subject to the foregoing, Defendants will produce responsive documents.” Defendants took this
approach in responding to a majority of Smartmatic’s RFPs; Nos. 1, 2, 3, 4, 5, 6, 8, 9, 10, 11, 12,
13, 14, 17, 18, 21, 25, 27, and 29 (the “Relevant RFPs”). In Smartmatic’s letters and at a meet-
and-confer held on December 21, 2022, Smartmatic asked Defendants to clarify whether, for the
Relevant RFPs, Defendants were agreeing to produce all documents responsive to the Request or
whether, based on their preceding objections, Defendants were agreeing to produce only a subset
of documents and planning to withhold other categories of documents.

       At the parties’ meet-and-confer on December 21, 2022, Defendants stated that, for the
Relevant RFPs, they intend to produce certain categories of documents and withhold categories of
responsive documents they believe are objectionable. For example, with respect to RFP No. 1,
which seeks documents and communications concerning SMARTMATIC, DOMINION, and/or
the security of voting in the 2020 PRESIDENTIAL ELECTION, Defendants stated in their RFP
Response that, “Subject to the foregoing [objections], Defendants will produce responsive
documents.” At the meet-and-confer, however, Defendants clarified that they will not comply with
the request as written, and that they intend to withhold categories of documents they believe are
outside the scope of permissible discovery.

        In response, Smartmatic explained that if Defendants intend to withhold documents
responsive to a RFP based on a written objection, Defendants need to immediately clarify their
written objections and expressly state which categories of documents called for by the RFP they


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       CASE 0:22-cv-00098-JMB-JFD Doc. 81-22 Filed 02/01/23 Page 2 of 3
Matthew Eslick
December 30, 2022
Page 2


intend to produce and which categories of documents they believe are objectionable and will not
produce. Fed. R. Civ. P. 34(b)(2)(C) (“An objection must state whether any responsive materials
are being withheld on the basis of that objection.”); see also, e.g. Ramirez-Cruz v. Chipotle Servs.,
LLC, 2017 U.S. Dist. LEXIS 128149, at *23 (D. Minn. May 11, 2017) (finding a party’s failure to
state in its RFP response that it would not produce certain responsive documents improper under
Rule 34). During both the parties’ meet-and-confers on December 21 and December 23, 2022,
Defendants stated that they would supplement their Responses to the Relevant RFPs and clarify in
writing whether they intend to comply with the RFP as written or whether they intend to produce
only a subset of documents responsive to the RFP. Further, Defendants agreed to identify the
subset of documents Defendants intend to produce so Smartmatic can assess the sufficiency of
Defendants’ response and, if necessary, timely engage in further meet-and-confers regarding
Defendants’ RFP Responses. This agreement was memorialized in my December 22, 2022 letter,
to which Defendants have not responded in writing.

      In its letters dated December 22 and December 27, 2022, Smartmatic requested that
Defendants supplement their RFP Responses and clarify their positions with respect to the
Relevant RFPs by today, December 30, 2022. During the December 23 meet-and-confer,
Defendants stated they would comply with this deadline.

        Yesterday, Defendants requested to postpone a third meet-and-confer scheduled for today
until Wednesday, January 4, 2023. Smartmatic obliged Defendants’ request. I also promptly sent
an email asking whether Defendants still intended to supplement their RFP Responses to the
Relevant RFPs by today, December 30. At the close of business today (December 30), you
responded that Defendants will not be supplementing their RFP Responses today and that they
intend to amend their Responses, including their Responses to discovery requests other than the
Relevant RFPs, “all at once.” Defendants did not identify a date by which they intend to serve their
supplemental responses.

        Defendants’ failure to supplement their Responses to the Relevant RFPs with the
information described above and discussed at our meet-and-confers is preventing discovery from
moving forward in this case. If Smartmatic does not know Defendants’ positions on the documents
that they are willing to produce, then it cannot meet-and-confer with Defendants on their positions
and the Court cannot resolve the parties’ disputes, if any, in a timely manner. Fact discovery is
scheduled to close in just six months and Smartmatic still does not even know what categories of
documents Defendants agree to produce. In that regard, Smartmatic cannot agree to wait for
Defendants to supplement their Responses to the Relevant RFPs on an uncertain date in the future.

                                               ***
        Smartmatic demands that Defendants properly supplement their Responses to the Relevant
RFPs by January 3, 2023. Please advise as to whether Defendants intend to comply. If Defendants
do not intend to comply with that deadline, then we expect them to identify in writing a specific
date by which they intend to comply. Otherwise, following the parties’ meet and confer scheduled
for January 4, 2023, we will move the Court to compel Defendants to respond to the Relevant
RFPs in compliance with Rule 34(b)(2)(C).
       CASE 0:22-cv-00098-JMB-JFD Doc. 81-22 Filed 02/01/23 Page 3 of 3
Matthew Eslick
December 30, 2022
Page 3


                                      Very truly yours,

                                      BENESCH, FRIEDLANDER,
                                       COPLAN & ARONOFF LLP



                                      Julie M. Loftus
JML:

cc:    Michael E. Bloom
